Case 1:22-cv-01032-PKC-JRC Document 148 Filed 03/02/23 Page 1 of 2 PageID #: 2198




     Leo Shalit, Esq.


                                                                                  March 2, 2023

     Hon. James Cho
     225 Cadman Plaza East
     Brooklyn, New York 11201
     Third Party Action: Safa Gelardi and IME Companions, LLC v. Carlos Roa

     Case: 1:22-CV-1032 (PKC)(JRC)

     Dear Judge Cho,

     I represent Third Party Defendant, Carlos Roa.

     I write this letter motion pursuant to Rule 37 of the Federal Rules of Civil Procedure,
     Rule 37.3 of the Local Civil Rules, and this Court's Individual Rules to seek an Order
     compelling IME Companions, Safa, and Vito to respond to Roa's discovery demands
     related to documents with appropriate remedies for their failure to timely respond,
     including but not limited to a waiver of any objections.

     Document Requests remain outstanding for 3 months now, having been served on
     October 31, 2022.

     The Parties have previously met and conferred on this issue. My office has also, in good-
     faith, consented to multiple courtesy extensions but discovery document responses have
     not been received . My client’s portion of the deposition cannot go forward until
     documents are received.

     Rule 37 of the Federal Rules of Civil Procedure provides that where a court grants a
     motion to compel it must “after giving an opportunity to be heard, require the party or
     deponent whose conduct necessitated the motion, the party or attorney advising that
     conduct, or both to pay the movant's reasonable expenses incurred in making the motion,
     including attorney's fees.” Fed. R. Civ. P. 37(a)(5)(A). By failing to respond or object to
     a discovery request in a timely manner, a party waives any objection which may have
     been available. See Chowdhury v. Hamza Express Food Corp., No. 14-CV-150 (JBW),
     2014 WL 12834831, at *2 (E.D.N.Y. Sept. 25, 2014) (“By failing to timely assert their
     objections within 30 days of service of the discovery demands, defendants have waived
     those objections.”).




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Case 1:22-cv-01032-PKC-JRC Document 148 Filed 03/02/23 Page 2 of 2 PageID #: 2199




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     The parties previous agreed that Defendant would serve responses by February 21, 2023.
     After that deadline passed, on February 23, 203, I emailed Opposing Counsel and
     attempted to schedule a meet and confer.

     On February 27, 2023, I again emailed Opposing Counsel, who responded that he will
     call me later. No call was received.

     On February 28, 2023, I emailed Opposing Counsel again and attempted to follow up on
     the status of the production.

     Finally, on March 1, 2023, I emailed Opposing Counsel and advised that, “ Mr. Warner,
     my office did not hear from you yesterday. You can email me whatever you want to put in
     the letter motion.I still don’t have documents and I’m going to file it today.”

     No response has been received. For these reasons, I have been unable to submit a joint
     letter.

     Movant requests an Order stating that the Discovery Objections with respect to the
     Document Demands are waived in this matter and to Order compelling Responses within
     15 days thereof as well as Fees for the motion.


                                                                Yours truly,

                                                                Leo Shalit, Esq.

                                                                Law Office of Leo Shalit




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